                  Case 2:21-mj-01285 Document 1 Filed on 10/16/21 in TXSD Page 1 of 4
AO 91 (Rev. 11/11) Criminal Complaint


                                        UNITED STATES DISTRICT COURT United District
                                                                            States Courts Southern
                                                                                     of Texas
                                                             for the
                                                                                                                      FILED
                                                   Southern District of Texas
                                                                                                               10/16/2021
                  United States of America                       )
                              v.                                 )                                  Nathan Ochsner, Clerk of Court
                                                                 )      Case No.       2:21-mj-1285
                                                                 )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)


                                                 CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.


 On or about the date(s) of                                            in the county of                                       in the


               District of                       the defendant(s) violated:

            Code Section                                                      Offense Description




This criminal complaint is based on these facts:
           Continued on the attached sheet.




                                                                                            Complainant’s signature




                                  at 1:33 p.m.

                                                                                               Judge’s signature

City and state:
                                                                                             Printed name and title
             Case 2:21-mj-01285 Document 1 Filed on 10/16/21 in TXSD Page 2 of 4

United States vs. James Joseph CRESCENTE                            HSI-Corpus Christi, Texas


                                              AFFIDAVIT

PROBABLE CAUSE:
On October 15, 2021, Border Patrol Agents responded to a vessel stop that was effectuated by U.S.
Customs and Border Protection (CBP) Air & Marine Operations (AMO) in the Intracoastal Waterway in/at
near Kenedy County, Texas. AMO Agents C. Garcia, A. Rolf and P. Walker encountered James Joseph
CRESCENT driving a vessel attempting to smuggle six undocumented non-citizens (UNC).

On same date, at approximately 09:40 a.m., CBP-AMO Agents were conducting maritime duties while
operating a marked and equipped CBP Vessel 41289. AMO Agents encountered a 22 foot “Bay Stealth
2230” boat displaying registration numbers from Texas. AMO Agents signaled with vessel equipment
and approached the boat to conduct a routine document check (19 U.S.C. 1581). While approaching the
boat, AMO Agents initially observed five individuals and upon closer inspection, AMO Agents noticed at
least two individuals laying down in the boat, as if they were trying to conceal themselves. During the
document check, the boat operator was unable to provide any valid identification documents, or any
documentation for the vessel. The driver of the vessel, later identified as James Joseph CRESCENTE,
was determined to be a United States Citizen.

The passengers, six (6), were then interviewed, and it was determined that all were
illegally present in the United States. Three of the subjects claimed to be nationals of Mexico, and three
claimed to be nationals of Honduras. Additionally, AMO Agents observed there to be only four
flotation devices on the vessel. During this field interview, CRESCENTE claimed to be guiding the
passengers on a $500 fishing trip. AMO Agents observed no one to be fishing at the time of the
encounter; and observed there to be no fishing bait on the boat.

AMO Agents detained all occupants, and further requested the assistance of U.S. Border Patrol at the
Kingsville, Texas station. The vessel and all occupants were taken to the nearest boat-ramp in Riviera,
Texas. There the boat driver and passengers were turned over to Border Patrol for further investigation.

Border Patrol Agent (BPA) R. Valdez with the assistance of BPA-Intelligence (BPA-I) M. Kemper and A.
Ochoa responded to the to the Kaufer-Hubert Memorial Park Boat Ramp to transport all seven (7)
subjects to the Kingsville, Texas station for processing.

PRINCIPAL STATEMENT:
Homeland Security Investigations (HSI) Special Agent R. Rendon and BPA-I A. Ochoa read CRESCENTE
his rights and he provided a post-Miranda statement. CRESCENTE stated that he traveled by bus to
Harlingen, Texas from San Antonio, Texas on Monday (October 11, 2021) and met up with a friend of his
he met while in prison in Beaumont, Texas. He went on to say that upon arrival and during his stay in
Harlingen, TX with his friend, they talked about transporting “illegals” through the waterways from Port
Mansfield, Texas to Baffin Bay (Riviera, Texas) and that his friend would pay CRESCENTE $1,000.00 (USD)
per person. CRESCENTE claims that he and his friend had traveled early in the week to an unknown
residence south of Harlingen, Texas and met up with an unknown female. At this residence, CRESCENTE
claims to have observed approximately twenty (20) people within the house.

CRESCENTE stated that on Wednesday (October 13, 2021), he and his friend's girlfriend went out to have
dinner. At one point, his friend departed.
              Case 2:21-mj-01285 Document 1 Filed on 10/16/21 in TXSD Page 3 of 4

United States vs. James Joseph CRESCENTE                              HSI-Corpus Christi, Texas

When CRESCENTE finished dinner, his friend showed up with the people (UNCs) and exclaimed to him,
non-verbatim, that this was CRESCENTE’s “money.” He claims that his friend went on to instruct
CRESCENTE on a plan to move/transport the UNCs on Thursday (October 14, 2021). He claims that the
plan for Thursday did not materialize due to poor weather conditions.

On Friday, October 15, 2021, CRESCENTE stated that he was awoke in the early morning hours. He claims
that they--his friend and the UNCs--travelled to Sebastian, Texas to an unknown residence. There, they
backed-up the truck that his friend was operating and hooked up the boat. From there, they traveled to
Port Mansfield, Texas and launched the boat at approximately 5:30 a.m. CRESCENTE claims that his friend
showed him on a mapping app the route to be taken north towards Baffin Bay. He went on to say that
somewhere along the way north is where he was signaled and stopped by law enforcement. CRESCENTE
claims that he does not speak Spanish and communicated his instructions to the passengers of the boat
through one of the UNCs that spoke English.

MATERIAL WITNESS:
Cesar Horacio TRUJILLO-Mena, a citizen and national of Mexico was read his rights and provided a
statement. TRUJILLO-Mena stated that he crossed into the United States (U.S.) approximately five weeks
ago. He crossed in a group of approximately fifteen (15) other migrants and was assisted by a guide.
TRUJILLO-Mena claims to have crossed the Rio Grande River by walking in an area where the water was
shallow.

After they crossed, they were taken to a house where they stayed for about five to six hours. (5-6 hrs.). At
that point, he alone was taken to a different house. TRUJILLO-Mena described it as a trailer that had a
dark blue, four door pickup truck parked outside. According to TRUJILLO-Mena, he was the only one
taken from the first house to the trailer. TRUJILLO-Mena stated that a heavy-set Hispanic man with short
hair lived at the trailer. After several days, all the other migrants, who were arrested along with him,
began to arrive to the house.

TRUJILLO-Mena went on to say that on today's date (October 15, 2021) at approximately 4:00 a.m., he
and all the migrants that were arrested with him, were taken from the house by truck. He also claimed
that four people were sitting on the rear bench seat and that he was told to lay across their laps. He stated
that a female was made to sit in the front seat of the vehicle.

After driving for approximately for an hour, to an hour and a half, they arrived at a boat dock where the
driver of the vehicle told them to get into a boat. TRUJILLO-Mena stated that a Caucasian man was
waiting for them at the boat and that once they were all inside, the Caucasian man who was piloting boat,
pushed it away from the dock. Once they were away from it, the man who was piloting the boat told him
to drop the anchor into the water. TRUJILLO-Mena stated that the boat pilot instructed a few of the other
illegal aliens to lay down on the floor of the boat. The boat pilot then told the other visible subjects, that if
a passing boat waved to them, to wave back. After waiting there for several minutes, they then departed
the area and traveled until being apprehended. TRUJILLO-Mena stated that even though there were life
vests on the boat, the driver did not tell them to put one on.

Cesar Horacio TRUJILLO-Mena stated that his brother made his smuggling arrangements and that he was
going to pay $8,500.00 (USD) to be smuggled to Dallas, Texas.

Homeland Security Investigations, Special Agent Ruben Rendon, Jr., presented the facts of this
investigation thus far to AUSA Dennis Robinson and the case was accepted against James Joseph
CRESCENTE for violations of Title 8 United States Code Section 1324. The decision was also made to
             Case 2:21-mj-01285 Document 1 Filed on 10/16/21 in TXSD Page 4 of 4

United States vs. James Joseph CRESCENTE                             HSI-Corpus Christi, Texas

retain material witness, Cesar Horacio TRUJILLO-Mena (Mexico). All remaining smuggled
undocumented non-citizens were processed accordingly as per Customs and Border Protection
protocols.




                                                    Ruben Rendon Jr., Special Agent
                                                    Homeland Security Investigations
                                                    Printed name and title

                                                    Signature attested telephonically per Fed.R.Crim.P.41, and
                                                    probable cause found:




Submitted by reliable electronic means, sworn to,

SUBSCRIBED AND SWORN TO BEFORE
ME THIS 16th
        ____ Day of October 2021



 Mitchel Neurock, U.S. Magistrate Judge
